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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH DAKOTA

                                        CENTRAL DIVISION




 RONALD E. ROUSSEAU,                                                   3:25-CV-03005-RAL


                          Petitioner,


                                                                     ORDER DIRECTING
         vs.                                                     SERVICE AND RESPONSE


 MARGARET EGAN-BAD WARRIOR*,IN
 HER     OFFICIAL        CAPACITY        AS    CRST
 JUDGE; AND KIMBERLY CRAVEN, IN
 HER     OFFICIAL        CAPACITY        AS    CRST
 ATTORNEY GENERAL;


                          Respondents,




        Petitioner, Ronald Rousseau, seeks habeas corpus relief under 25 U.S.C. § 1303.

Having reviewed the petition, it does not "plainly appear[]... that the petitioner is not

entitled to relief'^ as it applies exclusively to his seeking relief under the Indian Civil

Rights Act.2 But to be clear, the Court still is cognizant of Rousseau's ongoing direct

appeal with the Cheyenne River Sioux Tribal Court of Appeals and the importance of




'Judge Margaret Egan-Bad Warrior has noted that her proper name is Margaret Egan. Docket No.26, at 1
n.l; Docket No. 29, at 1 n.l. Her name will be corrected in the text of this order and will be updated in
future court filings.
1 Rule 4, Rules Governing § 2254 Cases (setting standard for preliminary review); see also Rule 1(b), Rules
Governing § 2254 Cases(making rules governing 28 U.S.C.§ 2254 cases applicable to other tj^es of habeas
corpus petitions).
2 Docket No.21.
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tribal exhaustion.^ Though it had delayed service upon Respondents in the past because

of the pending appeal and its potential for limiting and refining the scope of Rousseau's

surviving § 1303 petition/ upon reflection, leaving this case stalled appears less desirable

than moving it forward.

         It is therefore


         ORDERED that the Clerk of Court serve a copy of the enumerated docket entries®

and this order on Respondents Egan and Craven. It is further

         ORDERED that Respondents have 30 days after service of the pleadings to

respond to the second amended petition.®

         ORDERED that the clerk's office correct Respondent Margaret Egan's name for

future court filings.

         DATED this 22nd day of May,2025.

                                                 BY THE COURT:




                                                 MARK A, MORENO
                                                 UNITED STATES MAGISTRATE JUDGE


3 See Docket No.19, at 9-13.
^ See id. at 13-14.
5 Docket Nos. 1, 2, and 3 with all attachments (original petition for writ of habeas corpus); Docket No. 9-1
(operative petition); Docket Nos. 12,14(R&R and Order transferring case to South Dakota); Docket No.19
(first preliminary review of petition); Docket No.21(R&R recommending dismissal of non-habeas claims);
Docket No. 23 (Petitioner's objections re: Doc. 21); Docket No. 26 Qudge Egan's response to the Court's
request for update on tribal appeal progress re: Doc. 19); Docket No. 27 and attachment (Petitioner's
response re: Doc. 26); Docket No. 28 (Order adopting R&R re: Doc. 21); Docket No. 29 and attachment
(supplemental response re: Doc.26).
^ Docket No.9-1.
